                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION
                          5:20-cv-00027-MR

MICHAEL ODELL FAIR,              )
                                 )
               Plaintiff,        )
                                 )
vs.                              )                       ORDER
                                 )
FNU NEAL, et al.,                )
                                 )
               Defendants.       )
________________________________ )

       THIS MATTER is before the Court on Plaintiff’s “Motion of Truth

Declaration of Presence in Present Plain Fruit of the Nonpoisonous Tree to

Manifest that the Honorable Court Shall Acknowledge that Plaintiff Assertion

Stood in (Under) Truth and Awe Which Plaintiff Earnest Request that the

Honorable Judge May Amend His Judgment and Grant Plaintiff Prior

Requeted [sic] of Order in Good Faith”, [Doc. 20], which the Court construes

as a motion to Reconsider or Amend its Order of September 2, 2020.

       As it appears that the Plaintiff has failed to follow the directives of this

Court regarding his obtaining from a nonparty the information that is the

subject of Plaintiff’s Motion, the pending motion [Doc. 20] will be summarily

denied for the reasons stated in the Court’s September 2, 2020 Order [Doc.

19].



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                                ORDER

    IT IS, THEREFORE, ORDERED that Plaintiff’s motion [Doc. 20] is

DENED WITHOUT PREJUDICE.

    IT IS SO ORDERED.

                          Signed: October 19, 2020




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